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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN AMERICAN
CITIZENS, et al.,

                         Plaintiffs,
          v.
                                                  Civil Action No. 25-0946 (CKK)
EXECUTIVE OFFICE OF THE PRESIDENT,
et al.,

                         Defendants.



DEMOCRATIC NATIONAL COMMITTEE,
et al.,

                         Plaintiffs,
          v.
                                                  Civil Action No. 25-0952 (CKK)
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                         Defendants.



LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                         Plaintiffs,
          v.
                                                  Civil Action No. 25-0955 (CKK)
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                         Defendants.

          LEAGUE 1 AND LULAC 2 PLAINTIFFS’ MOTION FOR LEAVE TO
       FILE SUPPLEMENTAL DECLARATION IN SUPPORT OF MOTION FOR
                        PRELIMINARY INJUNCTION

1
  Plaintiffs League of Women Voters Education Fund, League of Women Voters of the United
States, League of Women Voters of Arizona, Hispanic Federation, National Association for the
Advancement of Colored People, OCA-Asian Pacific American Advocates, and Asian and Pacific
Islander American Vote.
2
  Plaintiffs League of United Latin American Citizens, Secure Families Initiative, and Arizona
Students’ Association.
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       League Plaintiffs 3 and LULAC Plaintiffs, 4 by and through counsel, hereby move this

Court, pursuant to Local Rule 65.1(c), to grant leave to file the attached Supplemental Declaration

of Jennette Sawyer (“Sawyer Declaration”) in support of their Motion for Preliminary Injunction

(ECF No. 34). League and LULAC Plaintiffs have conferred with Democratic Party Plaintiffs,

who do not oppose this motion. League and LULAC Plaintiffs sought a position on this motion

from Defendants and have not received a response as of the time of this filing.

       The attached declaration and accompanying exhibit (which, collectively, Plaintiffs seek

leave to file as “Exhibit 32”) address the actions Defendants have undertaken to implement the

challenged Executive Order. Specifically, on April 11, 2025, Defendant Brianna Schletz,

Executive Director of the United States Election Assistance Commission (“EAC”), transmitted a

letter to state Chief Election Officials, advising them that the EAC “is seeking consultation on

development of the national mail voter registration form” and “on how states would propose to

implement Section 2 of EO 14248, if required.” Ex. 32 at 5. Defendant Schletz also describes that

the Executive Order “provides instruction to the EAC.” Id. Defendants did not mention the April

11 EAC letter in their oppositions, despite Defendant Schletz sending it three days before

Defendants filed their briefs in this case. Today, Defendant Schletz sent an email to state election

officials clarifying that the EAC “will accept feedback” from state election officials until May 2,

2025, and characterizing the April 11 EAC letter as “an initial consultation.” Ex. 32 at 9. Plaintiffs’

Counsel became aware of the initial letter on April 15, and of the follow-up correspondence today;

neither Defendant Schletz nor any other Defendant informed Plaintiffs of these communications.

       Nonpartisan Plaintiffs seek leave to file the attached Supplemental Declaration of Jennette

Sawyer, who has personal knowledge of the April 11 letter and April 16 email transmitted from


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Defendant Schletz to Michigan Secretary of State Jocelyn Benson and can attest to their

authenticity, along with the letter and email themselves. These documents would aid this Court’s

adjudication of Plaintiffs’ Motion for Preliminary Injunction for at least two reasons.

         First, both communications bear on Defendants’ arguments about the need for immediate

equitable relief. In their Opposition filed three days after Defendant Schletz sent the letter,

Defendants maintained: “the Executive Order has not even begun to be implemented.” ECF No.

85, Defs.’ Resp. in Opp. to League and LULAC Pls.’ Mot. for Prelim. Inj. at 25 (emphasis in

original). This letter and email demonstrate that the EAC has, in fact, begun implementing the

Executive Order.

         Second, the letter sheds light on how the EAC is interpreting its responsibilities under

Section 2(a) of the Executive Order. Defendant Schletz’s understanding that the Order “provides

instruction to the EAC,” Ex. 32 at 5, bolsters Plaintiffs’ arguments both that the President is

unconstitutionally directing mandatory action of an independent agency, and that Plaintiffs are

suffering and will continue to suffer harms related to the implementation of Section 2(a) of the

Order.

         Defendants will suffer no prejudice by the allowance of this new declaration and exhibit,

because the key material—the EAC letter—was in Defendant Schletz’s possession at least since

she transmitted it on April 11, which was before Defendants’ Opposition was due. Any prejudice

to Defendants’ position arises from their decision not to discuss the letter in their April 14

Opposition, not Plaintiffs’ discovery of the letter yesterday and filing today.

         The EAC’s decision to begin implementing the challenged provision of the Executive

Order days prior to filing an Opposition where they claimed the implementation process had not

begun only reinforces the need for a Preliminary Injunction. Accordingly, Plaintiffs ask that the

Court include the supplemental declaration as part of the record. Should the Court deny this
motion, Plaintiffs ask that it allow them three hours to revise their Reply Memorandum to omit

references to the Sawyer Declaration.




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                                       CONCLUSION

       For the foregoing reasons, the motion should be granted.




Dated: April 16, 2025                           Respectfully submitted,

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**Application for pro hac vice admission
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